     Case 17-20543         Doc 12      Filed 12/12/17 Entered 12/12/17 14:53:07           Desc Main
                                         Document     Page 1 of 3


                                  UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF MAINE


 In the matter of:
                                                            Chapter 13
 Steven Edward Roberts,                                     Case No. 17-20543

                             Debtor



                     TRUSTEE’S OBJECTION TO CONFIRMATION OF PLAN

         NOW COMES the Standing Chapter 13 Trustee, Andrew M. Dudley, by and through his
undersigned staff attorney, and objects to confirmation of the plan (docket # 2), as follows:

1.       The plan provides for the Debtor to start paying the Trustee $185 per month starting on or before
         November 4, 2017. The Debtor is current. His next payment of $185 is due on or before January
         4, 2018.

2.       To assist his investigation of the Debtor’s financial affairs, the Trustee requests the following
         from the Debtor within the next 16 days (on or before December 27, 2017):

             a. Copies of the September, October & November 2017 statements for all of the Debtor’s
                    bank and other financial accounts;

             b. Documentation of how the values of the Debtor’s motor vehicles were determined;

             c. An independent valuation of the Thermo King refrigeration unit listed on Schedule B
                    with an “unknown” value;

             d. An independent valuation (CMA) of the Debtor’s real estate;

             e. An explanation of how $3,470 for gross wages on line 2 of Schedule I was determined,
                    as it appears to be pure speculation;

             f. Documentation of the Debtor’s unemployment compensation referred to on line 13 of
                    Schedule I;

             g. That the Debtor amend his Statement of Financial Affairs to disclose this past disability
                    income and that he amend Form 122C-1 to disclose any unemployment compensation;
                    and
     Case 17-20543       Doc 12      Filed 12/12/17 Entered 12/12/17 14:53:07                 Desc Main
                                       Document     Page 2 of 3


             h. That the Debtor’s answer to question 10 of the Statement of Financial Affairs be
                 amended. It currently has a row of question marks.

         The Trustee’s requests are relevant to whether the plan has been proposed in good faith, satisfies
         the liquidation test, is feasible, and provides for the Debtor to contribute his projected disposable
         income as required by 11 U.S.C. §§ 1325(a)(3), 1325(a)(4), 1325(a)(6) and 1325(b). Therefore, the
         Trustee objects to confirmation on the basis of those Code sections.

3.       The plan provides for the Debtor to partially fund the plan with a $11,231.67 lump sum payment
         from the sale of the Debtor’s residence or the subdivision of his land by month 50 (December
         2021). To avoid unnecessary delay to creditors, the lump sum payment should be due by month
         24 (October 2019).

4.       Paragraph 1(B) of the plan asserts a $27,206.67 total, but the plan payments add up to $25,456.67.

5.       The plan provides for the Trustee to pay a secured claim to the Town of Gray as follows: $91.50
         per month in months 1 – 20; $125 per month in months 21 – 36; and $120 in month 37. The
         payment schedule is unnecessarily complex, especially given that the mortgage arrears are paid
         pro rata.

6.       Before the plan is confirmed, the Debtor should certify that he has filed all applicable Federal,
         State, and local tax returns as required by 11 U.S.C. § 1308. The filing of the returns is a
         prerequisite for confirmation under 11 U.S.C. § 1325(a)(9).

7.       It is the Trustee’s understanding that the Debtor had not yet filed his income tax returns for 2014
         and 2015 by the time of the meeting of creditors. The Debtor listed possible 2014 and 2015
         income tax refunds on line 28 of Schedule B. The actual amounts of any refunds due to the
         Debtor should be contributed to the plan and accounted for in the liquidation analysis for the
         case for purposes of 11 U.S.C. § 1325(a)(4).

8.       The State of Maine has filed a $3,895.50 priority claim that is not addressed by the plan.

9.       Androscoggin Savings Bank has objected to confirmation. The Trustee reserves the right to
         review and object to any plan amendments or other arrangements proposed to resolve the
         objection.

10.      Androscoggin Savings Bank asserts in its proof of claim that it is owed $22,695.74 in prepetition
         arrears on one mortgage and $1,879.48 on the other. The plan provides for the Trustee to pay
  Case 17-20543             Doc 12        Filed 12/12/17 Entered 12/12/17 14:53:07             Desc Main
                                            Document     Page 3 of 3


         $13,822 on one and $1,714 on the other. If the Bank’s figures are accurate, the Debtor might not
         be able to propose an otherwise confirmable plan that he can afford as required by 11 U.S.C. §
         1325(a)(6). (The plan should also specify how much arrears to be paid on each of the two claims.
         While the Trustee can guess what it is intended, the plan should be explicit.)

         WHEREFORE, the Trustee respectfully requests that this Court deny confirmation of the plan,
together with such other relief as this Court finds just and reasonable.


                                                                     Respectfully Submitted:

Date: December 12, 2017                                              /s/ William H. Sandstead
                                                                     ________________________________
                                                                     WILLIAM H. SANDSTEAD
                                                                     ANDREW M. DUDLEY, Trustee
                                                                     Standing Chapter 13 Trustee
                                                                     Post Office Box 429
                                                                     Brunswick, Maine 04011-0429
                                                                     (207) 725-1300


                                         CERTIFICATE OF SERVICE
                                       FOR ELECTRONIC CASE FILING

      I, William Sandstead, hereby certify that I caused a true and correct copy of the following
document(s) to be served today on the parties listed below as follows:

Document(s) Served: Trustee’s objection, filed herewith

Service electronically via the Court’s ECF system to:

J. Scott Logan, Esq., Debtor’s Counsel
Stephen Morrell, Esq., Assistant U.S. Trustee
All other parties listed on N.E.F. as being served electronically.

Service by U.S. first class mail, postage prepaid, to:

Steven Edward Roberts
35 Johnson Road
Gray, ME 04039
                                                                     Signed:

Date: December 12, 2017                                              /s/ William H. Sandstead
                                                                     _________________________________
                                                                     WILLIAM H. SANDSTEAD
